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                                                                               2022 Jan-25 AM 09:42
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

EVAN MILLIGAN, et al.,                )
                                      )
      Plaintiffs,                     )
                                      )
v.                                    )     No. 2:21-cv-1530-AMM
                                      )
JOHN H. MERRILL, in his official      )     THREE-JUDGE COURT
capacity as Alabama Secretary of      )
State, et al.,                        )     NOTICE OF APPEAL
                                      )
      Defendants.                     )


                       NOTICE OF APPEAL OF ORDER
                    GRANTING PRELIMINARY INJUNCTION

      Notice is hereby given that all Defendants in the above-captioned case hereby

appeal to the Supreme Court of the United States from this Court’s January 24, 2022

Preliminary Injunction Memorandum and Order granting the Plaintiffs’ motion for

preliminary injunction. See Milligan DE107. This appeal is taken under 28 U.S.C.

§ 1253.

                                      Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 25, 2022, I electronically filed the foregoing

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